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                   UNITED STATES DISTRICT COURT
                                  District of Kansas
                                    (Wichita Docket)


UNITED STATES OF AMERICA,

                            Plaintiff,

              v.                                 CASE NO. 6:24-cr-10005-EFM

ANTHONY SALOME,

                            Defendant.




                                  INDICTMENT

       THE GRAND JURY CHARGES:

                                         COUNT 1

                                ESCAPE FROM CUSTODY
                                   [18 U.S.C. § 751(a)]

       On or about January 17, 2024, in the District of Kansas, the defendant,

                                 ANTHONY SALOME,

did knowingly escape from the custody of the Bureau of Prisons at the Wichita

Transitional Center, an institutional facility in which he was lawfully confined at the

direction of the Attorney General by virtue of a judgment and commitment of the United

States District Court for the District of Kansas, in Case No. 6:20CM60031-001, upon
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violation of supervised release after conviction in the United States District Court for the

District of Nevada, in Case No. 2:13-cr-160-APG-CWH, for Conspiracy to Distribute

Methamphetamine, in violation of Title 21, United States Code, Section 846.

       In violation of Title 18, United States Code, Section 751(a).


                                           A TRUE BILL.


January 23, 2024                           s/Foreperson                x
DATE                                       FOREPERSON OF THE GRAND JURY


KATE E. BRUBACHER
UNITED STATES ATTORNEY

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       IT IS REQUESTED THAT THE TRIAL BE HELD IN WICHITA, KANSAS




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                                   PENALTIES


Count 1 - Escape from Custody

   • Punishable by a term of imprisonment of not more than five (5) years. 18 U.S.C.
     § 751(a)

   • A term of supervised release of not more than three (3) years. 18 U.S.C. §
     3583(b).

   • A fine not to exceed $250,000. 18 U.S.C. § 3571(b).

   • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).




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